                                      Case 18-50293              Doc 1        Filed 03/16/18           Page 1 of 38
                                                                                                                                                3/16/18 5:15PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      7
                                                                                                                             Check if this an
                                                                                                                             amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Allis Concrete Construction, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  2070 Farmington Rd.
                                  Mocksville, NC 27028
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Davie                                                          Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    Allis Concrete Construction, LLC                                                             Case number (if known)
          Name



7.   Describe debtor's business A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




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Debtor   Allis Concrete Construction, LLC                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes.    Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone


         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                25,001-50,000
    creditors                                                                        5001-10,000                                50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
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Debtor   Allis Concrete Construction, LLC                                                         Case number (if known)
         Name



         Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 16, 2018
                                                  MM / DD / YYYY


                             X   /s/ Rebecca Allis                                                       Rebecca Allis
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Managing Member




18. Signature of attorney    X   /s/ John A. Meadows                                                      Date March 16, 2018
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 John A. Meadows 13237
                                 Printed name

                                 John A. Meadows
                                 Firm name

                                 Meadows and Aderhold, PA
                                 2596-C Reynolda Rd.
                                 Winston Salem, NC 27106
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     336-723-3530                  Email address      dalken99@bellsouth.net

                                 13237 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 16, 2018                          X /s/ Rebecca Allis
                                                                       Signature of individual signing on behalf of debtor

                                                                       Rebecca Allis
                                                                       Printed name

                                                                       Managing Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:                     MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            68,661.04

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            68,661.04


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            14,600.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $          140,806.09

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$          276,324.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             431,730.77




 Official Form 206Sum                                            Summary of Assets and Liabilities for Non-Individuals                                                                                   page 1
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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                         Check if this is an
                                                                                                                                         amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                         debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                               Last 4 digits of account
                                                                                                              number


           3.1.     Meadows and Aderhold Trust Account                       Trust                                                                     $2,312.42



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $2,312.42
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                             17,727.86    -                                0.00 = ....                           $17,727.86
                                              face amount                         doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                 page 1
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 Debtor         Allis Concrete Construction, LLC                                                  Case number (If known)
                Name


           11a. 90 days old or less:                                 2,519.27   -                                0.00 = ....        $2,519.27
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 3,500.00   -                                0.00 = ....        $3,500.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,907.86   -                                0.00 = ....        $1,907.86
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,347.62   -                                0.00 = ....        $1,347.62
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  250.00    -                                0.00 = ....          $250.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  250.00    -                                0.00 = ....          $250.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  100.00    -                                0.00 = ....          $100.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,400.00   -                                0.00 = ....        $1,400.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                 1,000.00   -                                0.00 = ....        $1,000.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                   30.00    -                                0.00 = ....            $30.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  600.00    -                                0.00 = ....          $600.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  750.00    -                                0.00 = ....          $750.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  500.00    -                                0.00 = ....          $500.00
                                              face amount                           doubtful or uncollectible accounts



           11a. 90 days old or less:                                  500.00    -                                0.00 = ....          $500.00
                                              face amount                           doubtful or uncollectible accounts


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                           page 2
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 Debtor         Allis Concrete Construction, LLC                                              Case number (If known)
                Name




 12.       Total of Part 3.                                                                                                        $32,382.61
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

       No. Go to Part 6.
       Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

       No. Go to Part 7.
       Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

       No. Go to Part 8.
       Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

       No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Spray Grout Machine (2) with Deutz
                     Diesal Engine, 250 PSI Air Compressor
                     and Tank, 11' Ball hitch Trailer , 45 GL
                     Hydrolic Tank and Pump                                           $12,000.00     Liquidation                       $12,000.00


           47.2.     2004 Ford F-150 4WD -
                     This vehicle has a lien with Universal
                     Financial in the name of Rebecca Allis
                     with a balance $700.00                                            $6,000.00     Liquidation                         $6,458.00


           47.3.     2010 Ford F-150 FWD                                               $8,888.00     Comparable sale                     $8,888.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Allis Concrete Construction, LLC                                             Case number (If known)
                Name

            47.4.    2008 F-250 4 WD 250,000 miles
                     There is a lien on the property with
                     Universal Finance, Inc which is in the
                     name Jonathan Allis with a balance of
                     approximately $8,000.00. This motor in
                     this trust blown and estimated repairs
                     are in excess of $7000.00 Nada is
                     $12,713.00 less $7,000.00 repairs and
                     $8,000.00 lien making the value
                     -2,287.00                                                             $0.00    N/A                          $0.01


            47.5.    2000 F-350 XLT 4WD                                                $6,120.00                           $6,120.00



 48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
            floating homes, personal watercraft, and fishing vessels

 49.        Aircraft and accessories


 50.        Other machinery, fixtures, and equipment (excluding farm
            machinery and equipment)
            tools                                                                        $500.00    Liquidation              $500.00



 51.        Total of Part 8.                                                                                          $33,966.01
            Add lines 47 through 50. Copy the total to line 87.

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

       No. Go to Part 10.
       Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

       No. Go to Part 11.
       Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 4
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 Debtor          Allis Concrete Construction, LLC                                                                  Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                            Current value of                       Current value of real
                                                                                                  personal property                      property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $2,312.42

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                       $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $32,382.61

 83. Investments. Copy line 17, Part 4.                                                                                   $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                     $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                            $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $33,966.01

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                        $0.00

 90. All other assets. Copy line 78, Part 11.                                                 +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                           $68,661.04             + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $68,661.04




Official Form 206A/B                                             Schedule A/B Assets - Real and Personal Property                                                             page 5
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91C (09/13)
                                            UNITED STATES BANKRUPTCY COURT
                                            MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                )
Allis Concrete Construction, LLC                                 )       Case No.
                                                                 )
                                                                 )       DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
                                                                 )
                                         Debtor.                 )

I, Rebecca Allis , the undersigned debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. § 522(b)(3)(A), (B),
and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

                  Check if the debtor claims as exempt any amount of interest that exceeds $125,000 in value in property that the debtor
              or a dependent of the debtor uses as a residence.

1.       REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
         BURIAL PLOT. (NCGS 1C-1601(a)(1)).
         Select appropriate exemption amount below:
                  Total net value not to exceed $35,000.
                  Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously
                  owned by debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
                  deceased.)

Description of                                  Market     Mtg. Holder or Lien                         Amt. Mtg.                   Net
Property & Address                               Value     Holder(s)                                     or Lien                 Value
-NONE-

                            (a) Total Net Value                                                   $                      0.00
                            Total Net Exemption                                                   $                      0.00
                            (b) Unused portion of exemption, not to exceed $5,000.                $                  5,000.00
                            (This amount, if any, may be carried forward and used to claim an
                            exemption in any property owned by the debtor. (NCGS
                            1C-1601(a)(2)).

2.       TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B) and
         the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

Description of                                  Market     Mtg. Holder or Lien                         Amt. Mtg.                   Net
Property & Address                               Value     Holder(s)                                     or Lien                 Value
-NONE-

3.       MOTOR VEHICLE. (NCGS 1C-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
         exempt not to exceed $3,500.)

Year, Make,                                     Market                                                                             Net
Model of Auto                                    Value     Lien Holder(s)                              Amt. Lien                 Value
-NONE-

(a) Statutory allowance                                                    $                 3,500
(b) Amount from 1 (b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)                        $

                                                   Total Net Exemption     $                    0.00

4.       TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. (NCGS 1C-1601(a)(5). Used by debtor or
         debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                                                Market                                                                             Net
Description                                      Value     Lien Holder(s)                              Amt. Lien                 Value
-NONE-
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 (a) Statutory allowance                                                                    $          2,000
 (b) Amount from 1 (b) above to be used in this paragraph.
     (A part or all of 1 (b) may be used as needed.)                                        $

                                                                      Total Net Exemption   $           0.00

5.          PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
            DEBTOR'S DEPENDENTS. (NCGS 1C-1601(a)(4). Debtor's aggregate interest, not to exceed $5,000 in value for the
            debtor plus $1,000 for each dependent of the debtor, not to exceed $4,000 total for dependents.)

                                                                    Market                                                                     Net
 Description                                                         Value    Lien Holder(s)                   Amt. Lien                     Value
 -NONE-

                                                                                                       Total Net Value                          0.00

 (a) Statutory allowance for debtor                                                            $       5,000
 (b) Statutory allowance for debtor's dependents: 0 dependents at
 $1,000 each (not to exceed $4,000 total for dependents)                                                0.00
 (c) Amount from 1(b) above to be used in this paragraph.
     (A part or all of 1 (b) may be used as needed.)

                                                                                                   Total Net Exemption                          0.00

6.          LIFE INSURANCE. (As provided in Article X, Section 5 of North Carolina Constitution.)

           Name of Insurance Company\Policy No.\Name of Insured\Policy Date\Name of Beneficiary
           -NONE-

7.          PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS). (NCGS
            1C-1601(a)(7). No limit on value or number of items.)

           Description:
           -NONE-

8.          DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS 1C-1601(a)(8). No limit on number or
            amount.)

           A. $                 -NONE- Compensation for personal injury to debtor or to person whom debtor was dependent for support.
           B. $                 -NONE- Compensation for death of person of whom debtor was dependent for support.
           C. $                 -NONE- Compensation from private disability policies or annuities.

9.          INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN
            TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
            REVENUE CODE. (NCGS 1C-1601(a)(9). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
            DEFINED IN 11 U.S.C. § 522(b)(3)(c).

           Detailed Description                                                                                            Value
           -NONE-

10.         COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
            (NCGS 1C-1601(a)(10). Total net value not to exceed $25,000 and may not include any funds placed in a college saving plan
            within the preceding 12 months not in the ordinary course of the debtor's financial affairs. This exemption applies only to the
            extent that the funds are for a child of the debtor and will actually be used for the child's college or university expenses.)

           Detailed Description                                                                                            Value
           -NONE-




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11.         RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
            UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
            THAT STATE OR GOVERNMENTAL UNIT. (NCGS 1C-1601(a)(11). No limit on amount.)

           Description:
           -NONE-

12.         ALIMONY, SUPPORT, SEPARATION MAINTENANCE AND CHILD SUPPORT. (NCGS 1C-1601(a)(12). No limit
            on amount to the extent such payments are reasonably necessary for the support of Debtor or dependent of Debtor.)

           Description:
           -NONE-

13.         ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT THAT
            HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-1601(a)(2). The amount claimed may not exceed the
            remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                                                    Market                                                                    Net
 Description                                                         Value   Lien Holder(s)                        Amt. Lien                Value
 -NONE-

 (a) Total Net Value of property claimed in paragraph 13.                                                      $                  0.00

 (b) Total amount available from paragraph 1(b).                                                               $               5,000.00
 (c) Less amounts from paragraph 1(b) which were used in the following paragraphs:
                                       Paragraph 3(b)              $
                                       Paragraph 4(b)              $
                                       Paragraph 5(c)              $
                                                 Net Balance Available from paragraph 1(b)                     $               5,000.00
                                                                       Total Net Exemption                     $

14.         OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

       -NONE-
       TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                                          $                    0.00

15.         EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

       -NONE-
       TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                                          $                    0.00

16. RECENT PURCHASES

The exemptions provided in NCGS 1C-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition for
bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may be exempt
and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the debtor less than 90 days preceding the filing of the bankruptcy petition:
                                               Market                                                                                         Net
Description                                      Value      Lien Holder(s)                             Amt. Lien                            Value
 -NONE-

 DATE March 16, 2018                                                                /s/ Rebecca Allis
                                                                                    Rebecca Allis
                                                                                    Debtor




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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:     List Creditors Who Have Secured Claims
                                                                                                                       Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                   that supports this
                                                                                                                       Do not deduct the value     claim
                                                                                                                       of collateral.
 2.1   158 Auto Sales                                Describe debtor's property that is subject to a lien                         $6,600.00                $6,120.00
       Creditor's Name                               2000 F-350 XLT 4WD
       3313 US Highway 158
       Mocksville, NC 27028
       Creditor's mailing address                    Describe the lien
                                                     Lien on motor vehicle
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Cass Auto Sales                               Describe debtor's property that is subject to a lien                         $8,000.00                $8,888.00
       Creditor's Name                               2010 Ford F-150 FWD- 175,000
                                                     creditor repossessed this vehicle on
       4360 Highway 158                              3/15/2018
       Advance, NC 27006
       Creditor's mailing address                    Describe the lien
                                                     Lien on motor vehicle
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                     page 1 of 2
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 Debtor      Allis Concrete Construction, LLC                                                      Case number (if know)
             Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.              $14,600.00

 Part 2: List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                       On which line in Part 1 did you     Last 4 digits of
                                                                                                                enter the related creditor?         account number for
                                                                                                                                                    this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                             page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with
          priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                            $1,412.61         $1,412.61
           Davie County Tax Collector                                Check all that apply.
           123 S. Main Street                                           Contingent
           Mocksville, NC 27028                                         Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     personal property taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $12,665.11         $12,665.11
           Employment Security Commission                            Check all that apply.
           Attn: Bankruptcy                                             Contingent
           P.O. Box 26504                                               Unliquidated
           Raleigh, NC 27611                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     unemployment taxes
           Last 4 digits of account number 9594                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 6
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 Debtor       Allis Concrete Construction, LLC                                                                Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $117,497.30        $117,497.30
           IRS                                                       Check all that apply.
           P.O. Box 21126                                               Contingent
           Philadelphia, PA 19114                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     business operating expense
                                                                     941 for 2015 and 2015
                                                                     1120- for 2015
           Last 4 digits of account number 9655                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $9,112.59    $9,112.59
           North Carolina Dept. of Revenue                           Check all that apply.
           Attn: Bankruptcy                                             Contingent
           P.O. Box 1168                                                Unliquidated
           Raleigh, NC 27602-1168                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     business operating expense
           Last 4 digits of account number 9655                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                        $118.48     $118.48
           North Carolina Dept. of Revenue                           Check all that apply.
           Attn: Bankruptcy                                             Contingent
           P.O. Box 1168                                                Unliquidated
           Raleigh, NC 27602-1168                                       Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     withholding taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $172,530.61
           A.W Cook Cement Products, Inc.                                              Contingent
           242 Amy Industrial Lane                                                     Unliquidated
           Hoschton, GA 30548                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     business operating expense
           Last 4 digits of account number     6361
                                                                                   Is the claim subject to offset?     No       Yes




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 Debtor      Allis Concrete Construction, LLC                                                         Case number (if known)
             Name

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $88.00
          Benfield Sanatation Services                                          Contingent
          282 Scotts Creek Road                                                 Unliquidated
          Statesville, NC 28625                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      2732
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $177.32
          Benfield Sanatation Services                                          Contingent
          282 Scotts Creek Road                                                 Unliquidated
          Statesville, NC 28625                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      1543
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Builders Mutual                                                       Contingent
          P.O. Box 150005                                                       Unliquidated
          Raleigh, NC 27624                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    workman's compensation
          Last 4 digits of account number      0303
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $1.10
          City of Wilson Utility Service                                        Contingent
          P.O. Box 2407                                                         Unliquidated
          Wilson, NC 27894-2407                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      4764
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Credit Bureau                                                         Contingent
          P.O. Box 26140                                                        Unliquidated
          Greensboro, NC 27402                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    informational purposes only
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,600.00
          David Bentley                                                         Contingent
          1496 Marshall Rd.                                                     Unliquidated
          Lyndonville, NY 14098                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    personal loan -business operating expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,551.67
          Erie Insurance Exchange                                               Contingent
          100 Erie Insurance Place                                              Unliquidated
          Erie, PA 16530                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    insurance
          Last 4 digits of account number      0929
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor      Allis Concrete Construction, LLC                                                         Case number (if known)
             Name

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,076.00
          Erie Insurance Exchange                                               Contingent
          100 Erie Insurance Place                                              Unliquidated
          Erie, PA 16530                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    terminated insurance
          Last 4 digits of account number      0974
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $566.25
          ESC Southeast LLP                                                     Contingent
          14026 Thunderbolt Place, Suite 500                                    Unliquidated
          Chantilly, VA 20151                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      8576
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,237.74
          ESC Southeast LLP                                                     Contingent
          14026 Thunderbolt Place, Suite 500                                    Unliquidated
          Chantilly, VA 20151                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      2439
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,113.25
          ESC Southeast LLP                                                     Contingent
          14026 Thunderbolt Place, Suite 500                                    Unliquidated
          Chantilly, VA 20151                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      3940
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $116.29
          Fastenal                                                              Contingent
          P.O. Box 1286                                                         Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expenses
          Last 4 digits of account number      0122
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $111.82
          Fastenal                                                              Contingent
          P.O. Box 978                                                          Unliquidated
          Winona, MN 55987                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      1716
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,505.38
          HD Supply Waterworks                                                  Contingent
          1830 Craig Park Court                                                 Unliquidated
          Saint Louis, MO 63146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating account
          Last 4 digits of account number      0833
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor      Allis Concrete Construction, LLC                                                         Case number (if known)
             Name

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $99.89
          Le Blue                                                               Contingent
          621 N. Regional Rd.                                                   Unliquidated
          Greensboro, NC 27409                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expenses
          Last 4 digits of account number      0108
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Lindsay & Gardner CPAs, PLLC                                          Contingent
          104 Stadium Oaks Dr.                                                  Unliquidated
          Clemmons, NC 27012                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Microsoft                                                             Contingent
          P.O. Box 12609                                                        Unliquidated
          Tucson, AZ 85732-2609                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $161.14
          Mocksville Tire and Automotive, Inc.                                  Contingent
          962 Yadkinville Rd.,                                                  Unliquidated
          Mocksville, NC 27028                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      5469
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $103.63
          NC Quick Pass Cusstomer Service Center                                Contingent
          200 SOrrell Grove Church Rd., Suite A                                 Unliquidated
          Morrisville, NC 27560                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number      5350
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,688.57
          Sealing Systems, Inc.                                                 Contingent
          9350 County Rd 19                                                     Unliquidated
          Loretto, MN 55357                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    business operating expense
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,003.79
          The Sherwin Williams Co.                                              Contingent
          c/o DeHaan & Bach, LPA                                                Unliquidated
          25 Whitney Dr., Suite 106                                             Disputed
          Milford, OH 45150
                                                                             Basis for the claim:    business operating expenses
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 5 of 6
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 Debtor       Allis Concrete Construction, LLC                                                        Case number (if known)
              Name

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     Unknown
           United Healthcare of NC                                              Contingent
           1001 Winstead Dr., #200                                              Unliquidated
           Cary, NC 27513                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    terminated healthcare plan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No     Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $714.00
           Utica National Insurance Group                                       Contingent
           P.O. Box 6532                                                        Unliquidated
           Utica, NY 13504                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    terminated insurance policy
           Last 4 digits of account number     3522
                                                                             Is the claim subject to offset?        No     Yes

 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $378.23
           Yadkin Valley Telephone                                              Contingent
           P.O. Box 580025                                                      Unliquidated
           Charlotte, NC 28258                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    terminated service
           Last 4 digits of account number     0000
                                                                             Is the claim subject to offset?        No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the             Last 4 digits of
                                                                                                      related creditor (if any) listed?                   account number, if
                                                                                                                                                          any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                         Total of claim amounts
 5a. Total claims from Part 1                                                                             5a.        $                       140,806.09
 5b. Total claims from Part 2                                                                             5b.   +    $                       276,324.68

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                  5c.        $                             417,130.77




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                       Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Rebecca and                       2070 Farmington Rd.                              North Carolina Dept.               D
             Jonathan M. Allis                 Mocksville, NC 27028                             of Revenue                         E/F        2.4
                                                                                                                                   G




    2.2      Rebecca and                       2070 Farmington Rd.                              North Carolina Dept.               D
             Jonathan M. Allis                 Mocksville, NC 27028                             of Revenue                         E/F        2.5
                                                                                                                                   G




    2.3      Rebecca and                       2070 Farmington Rd.                              Employment Security                D
             Jonathan M. Allis                 Mocksville, NC 27028                             Commission                         E/F        2.2
                                                                                                                                   G




    2.4      Rebecca and                       2070 Farmington Rd.                              IRS                                D
             Jonathan M. Allis                 Mocksville, NC 27028                                                                E/F        2.3
                                               partial liability
                                                                                                                                   G




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Allis Concrete Construction, LLC

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:     Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                $40,000.00
       From 1/01/2018 to Filing Date                                                                        Gross receipt
                                                                                                   Other    estimated


       For prior year:                                                                             Operating a business                               $848,661.21
       From 1/01/2017 to 12/31/2017                                                                         Gross receipt
                                                                                                   Other    through 11/30/2017


       For year before that:                                                                       Operating a business                               $786,000.00
       From 1/01/2016 to 12/31/2016                                                                         Gross receipt
                                                                                                            currently in hand of
                                                                                                   Other    CPA

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from
   lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply



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 Debtor       Allis Concrete Construction, LLC                                                          Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               The Sherwin Williams Co.                                    12/2017                            $6,000.00               Secured debt
               c/o DeHaan & Bach, LPA                                                                                                 Unsecured loan repayments
               25 Whitney Dr., Suite 106
                                                                                                                                      Suppliers or vendors
               Milford, OH 45150
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                   Value of property

       Cass Auto Sales                                          2010 Ford F-150 FWD- 175,000                                   3/15/2018                            $0.00
       4360 Highway 158                                         creditor repossessed this vehicle on
       Advance, NC 27006                                        3/15/2018


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                  Status of case
               Case number                                                                 address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of
   a receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 2

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 Debtor        Allis Concrete Construction, LLC                                                            Case number (if known)




           None

                Recipient's name and address                    Description of the gifts or contributions                  Dates given                  Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss   Value of property
       how the loss occurred                                                                                                                            lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates        Total amount or
                 the transfer?                                                                                                                       value
                 Address
       11.1.     John A. Meadows
                 Meadows and Aderhold, PA
                 2596-C Reynolda Rd.
                 Winston Salem, NC 27106                             Attorney Fees                                             3/13/2018          $2,495.00

                 Email or website address
                 dalken99@bellsouth.net

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                  Dates transfers     Total amount or
                                                                                                                        were made                    value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 3

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 Debtor      Allis Concrete Construction, LLC                                                           Case number (if known)



               Who received transfer?                           Description of property transferred or                    Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange               was made                          value
       13.1                                                     2006 Ford F-150 inoperable (March 2018)
       .    U Pull It Salvage Yard                              2004 Silverado -inoperable (February
                                                                2018)                                                     see above                        $900.00

               Relationship to debtor
               none


 Part 7:     Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services              If debtor provides meals
                                                                the debtor provides                                                       and housing, number of
                                                                                                                                          patients in debtor’s care

 Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension
    or profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was               Last balance
               Address                                          account number            instrument                   closed, sold,              before closing or
                                                                                                                       moved, or                           transfer
                                                                                                                       transferred




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4

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 Debtor        Allis Concrete Construction, LLC                                                         Case number (if known)



                 Financial Institution name and                 Last 4 digits of          Type of account or           Date account was         Last balance
                 Address                                        account number            instrument                   closed, sold,        before closing or
                                                                                                                       moved, or                     transfer
                                                                                                                       transferred
       18.1.     Bank of the Ozarks                             XXXX-                        Checking                  3/16/2018                        $12.42
                                                                                             Savings
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Do you still
                                                                     access to it                                                             have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Do you still
                                                                     access to it                                                             have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                  Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?


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 Debtor      Allis Concrete Construction, LLC                                                           Case number (if known)



            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

 Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                         Date of service
                                                                                                                                                From-To
       26a.1.       Amy Gardner                                                                                                                 numerous years she
                    Lyndsay and Gardner                                                                                                         has done the taxes
                    104 Stadium Oaks Dr.                                                                                                        for the corporation
                    King, NC 27021

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                         Date of service
                                                                                                                                                From-To
       26b.1.       Builders Mutual                                                                                                             workman's
                    P.O. Box 150005                                                                                                             compensation
                    Raleigh, NC 27624                                                                                                           audits yearly

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address




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 Debtor      Allis Concrete Construction, LLC                                                           Case number (if known)



       Name and address
       26d.1.       Bank of the Ozarks
                    Attention Bankruptcy Section
                    P.O. Box 129
                    Mocksville, NC 27028
       26d.2.       Universal Finance
                    P.O. Box 27028
                    Mocksville, NC 27028

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                             or other basis) of each inventory
       27.1 Jonathan Allis                                                                   weekly as
       .                                                                                     tools are
                                                                                             turned in
                                                                                             following jobs
                                                                                             for the week             n/a

                Name and address of the person who has possession of
                inventory records
                Jonathan Allis
                Mocksville, NC 27028


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Rebecca Allis                                 2070 Farmington Rd.                                                                         51%
                                                     Mocksville, NC 27028

       Name                                          Address                                              Position and nature of any             % of interest, if
                                                                                                          interest                               any
       Janathan Allis                                2070 Farmington Rd.                                                                         49%
                                                     Mocksville, NC 27028



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of                 Dates            Reason for
                                                                property                                                                     providing the value



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 Debtor      Allis Concrete Construction, LLC                                                           Case number (if known)



               Name and address of recipient                    Amount of money or description and value of               Dates            Reason for
                                                                property                                                                   providing the value
       30.1 Jonathan Allis
       .    2070 Farmington Rd.                                                                                           March 2017 to
               Mocksville, NC 27028                             S25,000.00 Salary                                         March 2018

               Relationship to debtor
               owner


       30.2 Rebecca Allis
       .    2070 Farmington Rd.                                                                                           March 2017 to
               Mocksville, NC 27028                             $25,000.00 Salary                                         March 2018

               Relationship to debtor
               owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:    Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is
      true and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 16, 2018

 /s/ Rebecca Allis                                                      Rebecca Allis
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Managing Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8

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B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                     Middle District of North Carolina
 In re       Allis Concrete Construction, LLC                                                                 Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,495.00
             Prior to the filing of this statement I have received                                        $                     2,495.00
             Balance Due                                                                                  $                        0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                 Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                 Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
       e.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 16, 2018                                                                /s/ John A. Meadows
     Date                                                                          John A. Meadows 13237
                                                                                   Signature of Attorney
                                                                                   John A. Meadows
                                                                                   Meadows and Aderhold, PA
                                                                                   2596-C Reynolda Rd.
                                                                                   Winston Salem, NC 27106
                                                                                   336-723-3530 Fax: 336-723-3578
                                                                                   dalken99@bellsouth.net
                                                                                   Name of law firm




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                                                              United States Bankruptcy Court
                                                                     Middle District of North Carolina
 In re      Allis Concrete Construction, LLC                                                              Case No.
                                                                                     Debtor(s)            Chapter    7




                                              VERIFICATION OF CREDITOR MATRIX


I, the Managing Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 16, 2018                                               /s/ Rebecca Allis
                                                                          Rebecca Allis/Managing Member
                                                                          Signer/Title




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          158 Auto Sales
          3313 US Highway 158
          Mocksville, NC 27028


          A.W Cook Cement Products, Inc.
          242 Amy Industrial Lane
          Hoschton, GA 30548


          Benfield Sanatation Services
          282 Scotts Creek Road
          Statesville, NC 28625


          Builders Mutual
          P.O. Box 150005
          Raleigh, NC 27624


          Cass Auto Sales
          4360 Highway 158
          Advance, NC 27006


          City of Wilson Utility Service
          P.O. Box 2407
          Wilson, NC 27894-2407


          Credit Bureau
          P.O. Box 26140
          Greensboro, NC 27402


          David Bentley
          1496 Marshall Rd.
          Lyndonville, NY 14098


          Davie County Tax Collector
          123 S. Main Street
          Mocksville, NC 27028


          Employment Security Commission
          Attn: Bankruptcy
          P.O. Box 26504
          Raleigh, NC 27611


          Erie Insurance Exchange
          100 Erie Insurance Place
          Erie, PA 16530
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      ESC Southeast LLP
      14026 Thunderbolt Place, Suite 500
      Chantilly, VA 20151


      Fastenal
      P.O. Box 1286
      Winona, MN 55987


      Fastenal
      P.O. Box 978
      Winona, MN 55987


      HD Supply Waterworks
      1830 Craig Park Court
      Saint Louis, MO 63146


      IRS
      P.O. Box 21126
      Philadelphia, PA 19114


      Le Blue
      621 N. Regional Rd.
      Greensboro, NC 27409


      Lindsay & Gardner CPAs, PLLC
      104 Stadium Oaks Dr.
      Clemmons, NC 27012


      Microsoft
      P.O. Box 12609
      Tucson, AZ 85732-2609


      Mocksville Tire and Automotive, Inc.
      962 Yadkinville Rd.,
      Mocksville, NC 27028


      NC Quick Pass Cusstomer Service Center
      200 SOrrell Grove Church Rd., Suite A
      Morrisville, NC 27560


      North Carolina Dept. of Revenue
      Attn: Bankruptcy
      P.O. Box 1168
      Raleigh, NC 27602-1168
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      Rebecca and Jonathan M. Allis
      2070 Farmington Rd.
      Mocksville, NC 27028


      Sealing Systems, Inc.
      9350 County Rd 19
      Loretto, MN 55357


      The Sherwin Williams Co.
      c/o DeHaan & Bach, LPA
      25 Whitney Dr., Suite 106
      Milford, OH 45150


      United Healthcare of NC
      1001 Winstead Dr., #200
      Cary, NC 27513


      Utica National Insurance Group
      P.O. Box 6532
      Utica, NY 13504


      Yadkin Valley Telephone
      P.O. Box 580025
      Charlotte, NC 28258
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                                                                     Middle District of North Carolina
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                                                                                    Debtor(s)               Chapter     7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Allis Concrete Construction, LLC in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



    None [Check if applicable]




 March 16, 2018                                                         /s/ John A. Meadows
 Date                                                                   John A. Meadows 13237
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for Allis Concrete Construction, LLC
                                                                        John A. Meadows
                                                                        Meadows and Aderhold, PA
                                                                        2596-C Reynolda Rd.
                                                                        Winston Salem, NC 27106
                                                                        336-723-3530 Fax:336-723-3578
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